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                         UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF SOUTH CAROLINA
                                        CHARLESTON DIVISION

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ERIC MOORE and KRIS MOORE,                                               Civil Action No: 2:21-cv-1503-RMG

                                            Plaintiffs,                  Master Docket No.: 2:18-mn-2873

                          -against-
                                                                         JUDGE RICHARD GERGEL
3M COMPANY, f/k/a Minnesota Mining and
Manufacturing Company, BUCKEYE FIRE EQUIPMENT
COMPANY, CHEMGUARD, INC., TYCO FIRE                                      DIRECT FILED COMPLAINT
PRODUCTS L.P., NATIONAL FOAM, INC., E.I.                                 AND JURY DEMAND PURSUANT
DUPONT DE NEMOURS AND COMPANY, individually                              TO CMO #3
and as successor in interest to DuPont Chemical Solutions
Enterprise, THE CHEMOURS COMPANY, individually
and as successor in interest to DuPont Chemical Solutions
Enterprise, THE CHEMOURS COMPANY FC, LLC,
individually and as successor in interest to DuPont Chemical
Solutions Enterprise, CORTEVA, INC., DUPONT DE
NEMOURS INC., f/k/a DOWDUPONT, INC., ARKEMA
INC., AGC CHEMICALS AMERICAS INC., DYNAX
CORPORATION, KIDDE-FENWAL, INC., CLARIANT
CORPORATION, BASF CORPORATION, UTC FIRE &
SECURITY AMERICAS CORPORATION, INC.,
CARRIER          GLOBAL           CORPORATION           and
CHEMDESIGN PRODUCTS, INC.

                                             Defendants.
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                                         COMPLAINT

       Plaintiffs, Eric Moore (“Plaintiff”) and Kris Moore, by and through their attorneys,

Pennock Law Firm LLC, for this Complaint against: 3M COMPANY, f/k/a Minnesota Mining and

Manufacturing Company, BUCKEYE FIRE EQUIPMENT COMPANY, CHEMGUARD, INC.,

TYCO FIRE PRODUCTS L.P., NATIONAL FOAM, INC., E.I. DUPONT DE NEMOURS AND

COMPANY, individually and as successor in interest to DuPont Chemical Solutions Enterprise,

THE CHEMOURS COMPANY, individually and as successor in interest to DuPont Chemical

Solutions Enterprise, THE CHEMOURS COMPANY FC, LLC, individually and as successor in

interest to DuPont Chemical Solutions Enterprise, CORTEVA, INC., DUPONT DE NEMOURS

INC., f/k/a DOWDUPONT, INC., ARKEMA INC., AGC CHEMICALS AMERICAS INC.,

DYNAX CORPORATION, KIDDE-FENWAL, INC., CLARIANT CORPORATION, BASF

CORPORATION, UTC FIRE & SECURITY AMERICAS CORPORATION, INC., CARRIER

GLOBAL CORPORATION, and CHEMDESIGN PRODUCTS, INC. (collectively “Defendants”)

allege, on knowledge as to their own actions, and otherwise upon information and belief, as

follows:

                                 NATURE OF THE ACTION

               1.     This is a civil action for compensatory and punitive damages, costs incurred

and to be incurred by Plaintiffs, and any other damages that the Court or jury may deem appropriate

for bodily injury arising from the intentional, malicious, knowing, reckless and/or negligent acts

and/or omissions of Defendants in connection with Aqueous Film-Forming Foam (“AFFF”)

containing Perfluorooctanoic Acid (“PFOA”) and Perfluorooctanesulfonic acid (“PFOS”) and/or

the Plaintiff. All Defendants were involved in the manufacturing of the fluorochemical products,




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the AFFF and/or the precursors to PFOA and PFOS (collectively hereinafter “fluorochemical

products” or “C8”) to which Plaintiff was exposed.

                                  JURISDICTION AND VENUE

                2.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332(a) because complete diversity exists between plaintiff and defendants and the

amount in controversy exceeds $75,000.00.

                3.      Plaintiffs are filing this Complaint as permitted by Case Management Order

No. 3 (“CMO #3”) issued by Judge Richard M. Gergel of this Court. Pursuant to CMO #3, plaintiff

designates the United States District Court for the Central District of California as the “home

venue” where plaintiff would have otherwise filed suit pursuant to 28 U.S.C. § 1391. But for CMO

#3, venue is proper in the United States District Court for the Central District of California in that

the events or omissions giving rise to the claim occurred in that district. Plaintiffs respectfully

request that, at the time of the transfer of this action back to trial court for further proceedings, this

case be transferred to the United States District Court for the Central District of California.

                4.      The United States District Court for the Central District of California has

personal jurisdiction over the Defendants because at all times relevant to this lawsuit, the

Defendants manufactured, designed, marketed, distributed, released, promoted and/or otherwise

sold (directly or indirectly) PFAS-containing AFFF products to various locations, such that each

Defendant knew or should have known that said products would be delivered to areas in the state

of California for active use by Plaintiff during the course of training and firefighting activities.

Therefore, the exercise of jurisdiction over the Defendants by the United States District Court for

the Central District of California of does not offend traditional notions of fair play and substantial

justice.
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                                                 PARTIES
                                               PLAINTIFFS
               5.      Plaintiff, Eric Moore, is a citizen of the United States of America and a

current resident of the State of California.

               6.      Plaintiff, Eric Moore, was born on October 13, 1957.

               7.      Plaintiff was exposed to Defendants’ fluorochemical products throughout

his long career as a firefighter with the El Segundo Fire Department, located in El Segundo,

California.

               8.      As a result of his exposure to Defendants’ fluorochemical products, Plaintiff

was diagnosed with kidney cancer, and underwent a partial nephrectomy of his right kidney, which

has caused Plaintiff to suffer severe personal injuries, pain, and emotional distress.

               9.      As a result of his exposure to Defendants’ fluorochemical products, Plaintiff

was diagnosed with prostate cancer and underwent a prostatectomy and lymph node dissection,

which has caused Plaintiff to suffer severe personal injuries, pain, and emotional distress.

               10.     The injuries, pain, suffering, and emotional distress were caused by

Defendants’ fluorochemical products.

               11.     Plaintiff, Kris Moore, is a citizen of the United States of America and a

current resident of the State of California.

               12.     Plaintiff, Kris Moore, married Plaintiff, Eric Moore, and Plaintiffs have

been and are currently married.

               13.     As a result of Plaintiff Eric Moore’s exposure to Defendants’

fluorochemical products, Plaintiff, Kris Moore, has suffered, and will continue to suffer in the

future, loss of consortium, loss of society, affection, assistance, and conjugal fellowship, all to the

detriment of her marital relationship.

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                                              DEFENDANTS

               14.     The term “Defendant” or “Defendants” refers to all Defendants named

herein jointly and severally.

               15.      Any and all references to a Defendant or Defendants in this Complaint

include any predecessors, successors, parents, subsidiaries, affiliates and divisions of the named

Defendants.

               16.     When reference is made in this Complaint to any act or omission of any of

the Defendants, it shall be deemed that the officers, directors, agents, employees, or representatives

of the defendants committed or authorized such act or omission, or failed to adequately supervise

or properly control or direct their employees while engaged in the management, direction,

operation, or control of the affairs of defendants, and did so while acting within the scope of their

duties, employment or agency.

               17.     At all times relevant to this litigation, upon information and belief, each of

the defendants designed, developed, manufactured, marketed and/or sold the AFFF or

fluorochemical products containing PFOA or PFOS used by firefighters throughout the country,

including in California.

               18.     Each of the Defendants designed, developed, manufactured, marketed

and/or sold the AFFF or fluorochemical products containing PFOA or PFOS to which Plaintiff

was exposed and directly and proximately caused Plaintiff to develop both kidney and prostate

cancer, undergo a partial nephrectomy, undergo a prostatectomy and lymph node dissection, and

to suffer severe personal injuries, pain, suffering, and emotional distress.




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               19.    Defendant 3M Company (f/k/a/ Minnesota Mining and Manufacturing

Company) (“3M”) is a Delaware Corporation and conducts business throughout the United States,

with its principal place of business located at 3M Center, St. Paul Minnesota 55144.

               20.    3M Company manufactured, distributed, and sold fluorochemical products

and AFFF from the 1960s until 2002.



               21.    Buckeye Fire Equipment Company (“Buckeye”) is a corporation

organized and existing under the laws of Ohio, with its principal place of business at 110 Kings

Road, Kings Mountain, North Carolina 28086.

               22.    Chemguard, Inc. is a corporation organized and existing under the laws of

Texas, with its principal place of business at one Stanton Street, Marinette, Wisconsin 54143.

               23.    Upon information and belief, Chemguard is a subsidiary of Johnson

Controls International PLC.

               24.    Tyco Fire Products L.P. (“Tyco”) is a limited partnership organized under

the laws of Pennsylvania, with its principal place of business at 1400 Pennbrook Parkway,

Landsdale, Pennsylvania 19446.

               25.    Upon information and belief, Tyco is a subsidiary of Johnson Controls

International PLC.

               26.    Tyco is the successor in interest of The Ansul Company (“Ansul”), having

acquired Ansul in 1990.

               27.    Beginning in or around 1975, Ansul manufactured and/or distributed and

sold AFFF that contained PFOA and PFOA. After Tyco acquired Ansul in 1990, Tyco/Ansul

continued to manufacture, distribute and sell AFFF that contained PFOA and PFOS.

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               28.     Upon information and belief, Tyco acquired the Chemguard brand in 2011

and continues to sell Chemguard AFFF products through its Chemguard Specialty Chemicals

division.

               29.     National Foam, Inc. (“National Foam”) is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 141 Junny Road,

Angier, North Carolina 27501 and at 350 East Union Street, West Chester, Pennsylvania 19382.

               30.     Upon information and belief, National Foam is a subsidiary of Angus

International Safety Group, Ltd.

               31.     E. I. DuPont de Nemours & Company (“DuPont”) is a corporation

organized and existing under the laws of Delaware, having a principal place of business is 974

Centre Road Wilmington, Delaware 19805.

               32.     DuPont is a successor in interest to DuPont Chemical Solutions

Enterprise (“DuPont Chemical”), a Delaware corporation with a principal place of business

located at 1007 Market Street Wilmington, Delaware 19898.

               33.     DuPont Chemical was a member of the Telomer Research Program

(“TRP”). As a member it was required to provide a list and volume of products it was selling in

the United States on a yearly basis.

               34.     In a letter addressed to the Office of Pollution Prevention and Toxics

(OPPT) Document Control Office, dated May 14, 2003 and signed by Stephen H. Korzeniowski,

DuPont provided its Telomer-based sales products in the United States for the year 2002.

               35.     The letter, which was redacted and sent to the USEPA under its PFOA

Stewardship Program, included AFFF sales volume, on an active ingredient pound basis, as well



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as its Chemical Abstracts Service (CAS) number and chemical name, and is included in the PFOA

Stewardship Program Docket.

               36.    The Chemours Company (“Chemours”) is a corporation organized and

existing under the laws of Delaware, having a principle place of business at 1007 Market Street,

Wilmington, Delaware 19889.

               37.    In 2015, DuPont spun off its “performance chemicals” business to

Chemours along with certain environmental liabilities. Upon information and belief, at the time of

the transfer of its performance chemicals business to Chemours, DuPont had been sued, threatened

with suit and/or had knowledge of the likelihood of litigation to be filed regarding DuPont’s

liability for damages and injuries arising from the manufacture and sale of fluorochemicals and

the products that contain fluorochemicals.

               38.    The Chemours Company FC LLC (“Chemours FC”), a successor in

interest to DuPont Chemical, is a corporation organized and existing under the laws of Delaware,

having a principal place of business at 1007 Market Street Wilmington, Delaware 19899.

               39.    Corteva, Inc. (“Corteva”) is a corporation organized and existing under

the laws of Delaware, having a principal place of business at 974 Centre Rd., Wilmington,

Delaware 19805.

               40.    Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de Nemours

Inc.”) is a corporation organized and existing under the laws of Delaware, having a principal place

of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow Way, Midland,

Michigan 48674.

               41.    On June 1, 2019, DowDuPont, Inc. separated its agriculture business

through the spin-off Corteva.


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               42.     Prior to the separation, DowDuPont owned Corteva as a wholly-owned

subsidiary formed in February 2018.

               43.     On June 1, 2019, DowDuPont distributed a pro rata dividend of both issued

and outstanding shares of Corteva common stock to DowDuPont shareholders.

               44.     Corteva holds certain Dow DuPont assets and liabilities including

DowDuPont’s agriculture and nutritional businesses.

               45.     On June 1, 2019 DowDuPont, the surviving entity after the spin-off of

Corteva and another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to

be known as DuPont (“New DuPont”). New DuPont retained assets in the specialty products

business lines following the spin-offs, as well as the balance of the financial assets and liabilities

of E.I. DuPont not assumed by Corteva.

               46.     Defendants E.I. Du Pont de Nemours and Company; The Chemours

Company; The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are

collectively referred to as “DuPont” throughout this Complaint.

               47.     Arkema Inc. (“Arkema”) is a corporation organized and existing under

the laws of Pennsylvania, having a principal place of business at 900 First Avenue, King of Prussia,

PA 19406.

               48.     Arkema develops specialty chemicals and fluoropolymers.

               49.     Arkema is a successor in interest to Elf Atochem North America and

Atofina Chemicals Inc., which manufactured fluorosurfactants containing PFOA that was used in

AFFF.




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               50.    AGC Chemicals Americas Inc. (“AGC Americas”) is a corporation

organized and existing under the laws of Delaware, having a principal place of business in 5 East

Uwchlan Avenue, Suite 201 Exton, PA 19341 United States.

               51.    AGC Americas operates throughout the United States, manufacturing glass,

electronic displays and chemical products, including resins, water and oil repellants, greenhouse

films, silica additives, and various fluorointermediates, including those used in AFFF products.

               52.    Dynax Corporation (“Dynax”) is a corporation organized and existing

under the laws of Delaware, having a principal place of business at 79 Westchester Avenue, Pound

Ridge, New York 10576 and an address for service of process at 103 Fairview Park Drive

Elmsford, New York 10523-1544.

               53.    On information and belief, Dynax entered the AFFF business in 1991 and

quickly became a leading global producer of fluorosurfactants and fluorochemical foam stabilizers

used in firefighting foam agents.

               54.    Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized under the

laws of Delaware, having a principal place of business at One Financial Plaza, Hartford,

Connecticut 06101. Kidde-Fenwal is the successor-in-interest to Kidde Fire Fighting, Inc. (f/k/a

Chubb National Foam, Inc. f/k/a National Foam System, Inc.) (collectively, “Kidde/Kidde Fire”)

and manufactured and sold AFFF.

               55.    Clariant Corporation (“Clariant”) is a corporation organized and existing

under the laws of New York, having a principal place of business at 4000 Monroe Road, Charlotte,

North Carolina 28205.

               56.    On information and belief, Clariant was formerly known as Sandoz

Chemicals Corporation, and manufactured fluorointermediates used in AFFF products.


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                 57.   BASF Corporation, (“BASF”), is a corporation organized and existing

under the laws of Delaware, having a principal place of business at 100 Park Avenue, Florham

Park, New Jersey 07932.

                 58.   On information and belief, BASF is the largest affiliate of BASF SE and the

second largest producer and marketer of chemicals and related products in North America.

                 59.   On information and belief, BASF Corporation is the successor in interest to

Ciba-Geigy, Inc., Ciba Specialty Chemicals Company, and Ciba, Inc., a Swiss specialty chemicals

company, that manufactured fluorosurfactants containing PFOA used in AFFF.

                 60.   UTC Fire & Security Americas Corporation, Inc. (“UTC”) is a

Delaware corporation with its principal place of business at 13995 Pasteur Blvd., Palm Beach

Gardens, Florida 33418. Upon information and belief, UTC was a division of United

Technologies Corporation. UTC does and/or has done business throughout the United States and

manufactured and sold AFFF.

                 61.   Carrier Global Corporation (“Carrier”) is a Delaware corporation with

its principal place of business located at 13995 Pasteur Boulevard, Palm Beach Gardens, Florida

33418. Upon information and belief, UTC is now a division of Carrier and manufactured and

sold AFFF. Upon information and belief, Carrier does and/or has done business throughout the

United States.

                 62.   ChemDesign Products, Inc. is a corporation organized and existing under

the laws of Texas and having a principal place of business at 2 Stanton Street, Marinette, Wisconsin

54143, that manufactured fluorosurfactants containing PFOA used in AFFF.

                                  FACTUAL ALLEGATIONS

                       THE FLUOROCHEMICALS: PFOA AND PFOS


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                63.     Fluorochemical products are man-made chemicals composed of a chain of

carbon atoms in which all but one of the carbon atoms are bonded to fluorine atoms, and the last

carbon atom is attached to a functional group. The carbon-fluorine bond is one of the strongest

chemical bonds that occur in nature, which is a reason why these molecules are so persistent.

Fluorochemical products that contain eight carbon-fluorine bonds are sometimes referred to as

“C8.”

                64.     Fluorochemical products are highly water soluble, which facilitates the ease

at which they spread throughout the environment, contaminating soil, groundwater, and surface

water. This mobility is made more dangerous by their persistence in the environment and resistance

to biologic, environmental, or photochemical degradation.

                65.     Fluorochemical products are readily absorbed in animal and human tissues

after oral exposure and accumulate in the serum, kidney, and liver. They have been found globally

in water, soil, and air as well as in human food supplies, breast milk, umbilical cord blood, and

human blood serum.

                66.     Fluorochemical products are persistent in the human body. A short-term

exposure can result in a body burden that persists for years and can increase with additional

exposures.

                67.     Since they were first produced, information has emerged showing negative

health effects caused by exposure to fluorochemical products.

                68.     According to the United States Environmental Protection Agency (“EPA”),

studies indicate that exposure to fluorochemical products over certain levels may result in

developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low birth weight,

accelerated puberty, skeletal variations), cancer (e.g., testicular, kidney), liver effects (e.g., tissue


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damage), immune effects (e.g., antibody production and immunity), thyroid effects and other

effects (e.g., cholesterol changes).

               69.        The EPA has also warned that there is suggestive evidence of carcinogenic

potential for fluorochemical products.

               70.        The EPA has noted that drinking water can be an additional source of PFC’s

in the small percentage of communities where these chemicals have contaminated water supplies.”

In communities with contaminated water supplies, such contamination is typically localized and

associated with a specific facility, for example…an airfield at which fluorochemical products were

used for firefighting.”

               71.        The EPA has issued Health Advisory Levels of 70 parts per trillion (“ppt”)

for PFOA and PFOS found in drinking water. When both PFOA and PFOS are found in drinking

water, the combined concentrations should not exceed 70 ppt.

                               AQUEOUS FILM-FORMING FOAM

               72.        AFFF is a type of water-based foam that was first developed in the 1960s

to extinguish flammable liquid fuel fires at airports and military bases, among other

places.

               73.        The AFFF designed, manufactured, marketed, distributed, and/or sold by

Defendants contained either or both PFOA and PFOS, or the chemical precursors to PFOA or

PFOS.

               74.        PFOS and/or the chemical precursors to PFOS contained in 3M’s AFFF

were manufactured by 3M’s patented process of electrochemical fluorination (“ECF”).




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               75.     All other Defendants manufactured fluorosurfactants for use in AFFF

through the process of telomerization. Telomerization produced fluorotelomers, including PFOA

and/or the chemical precursors to PFOA.

               76.     AFFF can be made without PFOA, PFOS, or their precursor chemicals, that

do not release PFOA, PFOS, and/or their precursor chemicals into the environment or in humans

.

               77.     When used as the Defendants intended and directed, Defendants’ AFFF

releases PFOA, PFOS, and/or their precursor chemicals into the environment.

               78.     Once PFOA and PFOS are free in the environment, these chemicals do not

hydrolyze, photolyze, or biodegrade under typical environmental conditions and are extremely

persistent in the environment. Because of their persistence, they are widely distributed throughout

soil, air, and groundwater.

               79.     Due to the chemicals’ persistent nature, among other things, these chemicals

have, and continue to cause injury and damage to Plaintiff.

                               DEFENDANTS’ KNOWLEDGE

               80.     On information and belief, by the early 1980s, Defendants knew, or

reasonably should have known, among other things, that: (a) PFOA and PFOS are toxic; and (b)

when sprayed in the open environment per the instructions given by the manufacturer, PFOA and

PFOS readily migrate through the subsurface, mix easily with groundwater, resist natural

degradation, render drinking water unsafe and/or non-potable, and can be removed from public

drinking water supplies only at substantial expense.

               81.     Defendants also knew or reasonably should have known that PFOA and

PFOS could be absorbed into the lungs and gastrointestinal tract, potentially causing severe


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damage to the liver, kidneys, and central nervous system, in addition to other toxic effects, and

that PFOA and PFOS are known carcinogens which cause genetic damage.

               82.      In 1980, 3M published data in peer- reviewed literature showing that

humans retain PFOS in their bodies for years. Based on that data, 3M estimated that it could take

a person up to 1.5 years to clear just half of the accumulated PFOS from their body after all

exposures had ceased.

               83.      By the early 1980s, the industry suspected a correlation between PFOS

exposure and human health effects. Specifically, manufacturers observed bioaccumulation of

PFOS in workers’ bodies and birth defects in children of workers.

               84.      In 1981, DuPont tested for and found PFOA in the blood of female plant

workers in Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in

exposed workers, finding two of seven children born to female plant workers between 1979 and

1981 had birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye

defect.

               85.      Beginning in 1983, 3M documented a trend of increasing levels of PFOS in

the bodies of 3M workers. In an internal memo, 3M’s medical officer warned “we must view this

present trend with serious concern. It is certainly possible that … exposure opportunities are

providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the body.”

               86.      Based on information and belief, in 2000, under pressure from the EPA, 3M

announced that it was phasing out PFOS and U.S. production of PFOS; 3M’s PFOS-based AFFF

production did not fully phase out until 2002.

               87.      From 1951, DuPont, and on information and belief, Chemours, designed,

manufactured, marketed, and sold fluorochemical products, including Teflon nonstick


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cookware, and more recently, PFAS feedstocks, such as Forafac 1157 N, for the use in the

manufacture of AFFF products.

              88.     Based on information and belief, in 2001 or earlier, DuPont manufactured,

produced, marketed, and sold fluorochemical products and/or PFAS feedstocks to some or all of

the AFFF product manufacturers for use in their AFFF products.

              89.     Based on information and belief, in 2001 or earlier, DuPont manufactured,

produced, marketed, distributed, and sold fluorochemical products and/or PFAS feedstocks to

some or all of the AFFF product manufacturers for use in their AFFF products.

              90.     DuPont had been studying the potential toxicity of PFOA since at least the

1960s and knew that it was contaminating drinking water drawn from the Ohio River, and did not

disclose to the public or to government regulators what they knew about the substance’s potential

effects on humans, animals, and/or the environment.

              91.     By December 2005, the EPA uncovered evidence that DuPont concealed

the environmental and health effects of PFOA, and the EPA announced the “Largest

Environmental Administrative Penalty in Agency History.” The EPA fined DuPont for violating

the Toxic Substances Control Act “Section 8(e)—the requirement that companies report to the

EPA substantial risk information about chemicals they manufacture, process or distribute in

commerce.”

              92.     By July 2011, DuPont could no longer credibly dispute the human toxicity

of PFOA, which it continued to manufacture. The “C8 Science Panel” created as part of the

settlement of a class action over DuPont’s releases from its Washington Works plant reviewed the

available scientific evidence and concluded that a “probable link” exists between PFOA exposure

and the serious (and potentially fatal) conditions of pregnancy-induced hypertension and


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preeclampsia. By October 2012, the C8 Science Panel concluded that a probable link also exists

between PFOA and five other conditions—high cholesterol, kidney cancer, thyroid disease,

testicular cancer, and ulcerative colitis.

                93.     In July 2015, DuPont spun off its chemicals division by creating Chemours

as a new publicly traded company, once wholly owned by DuPont. By mid-2015, DuPont had

dumped its perfluorinated chemical liabilities into the lap of the new Chemours.

                94.     Notwithstanding this knowledge, Defendants negligently and carelessly: (1)

designed, manufactured, marketed, distributed, and/or sold AFFF products containing

fluorochemicals, and/or fluorochemical products for use in AFFF; (2) failed to issue instructions

on how AFFF containing fluorochemical products should be used and disposed of; (3) failed to

recall and/or warn the users of fluorochemical products, negligently designed products containing

or degrading into PFOA and/or PFOS, of the dangers of surface water, soil, and groundwater

contamination as a result of standard use and disposal of these products; and (4) further failed and

refused to issue the appropriate warnings and/or recalls to the users of fluorochemical products,

notwithstanding the fact that Defendants knew foreseeable the identities of the purchasers and end-

users of the fluorochemical products, as well as the final fate of fluorochemical products in water

and biota, including in humans.

                            ERIC MOORE’S EXPOSURE TO AFFF

                95.     Upon information and belief, the El Segundo Fire Department, located in

El Segundo, California, has stored and used Defendants’ AFFF containing PFOA or PFOS

chemicals and/or their precursor chemicals in firefighter training and response exercises.




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               96.     Defendants designed, manufactured, marketed, distributed, and/or sold the

AFFF containing PFOA or PFOS chemicals and/or their precursor chemicals to the El Segundo

Fire Department for use throughout operations.

               97.     The descriptive labels and material safety data sheets for Defendants’ AFFF

containing PFOA or PFOS and/or their precursor chemicals utilized by firefighters of the El

Segundo Fire Department did not reasonably or adequately describe the AFFF’s risks to human

health.

               98.     The Defendants knew or should have known of the hazards of AFFF

containing PFOA or PFOS and/or their precursor chemicals when the products were manufactured.

               99.     From 1981 through 2011, Plaintiff worked as a firefighter with the El

Segundo Fire Department.

               100.    Throughout his long career, Plaintiff conducted routine trainings and

firefighting activities using, being exposed to, and ingesting Defendants’ AFFF and

fluorochemical products.

               101.    During Plaintiff’s use of Defendants’ AFFF products containing PFOA

and/or PFOS and/or their precursor chemicals, Plaintiff ingested such products, and the PFOA

and/or PFOS and/or their precursor chemicals entered Plaintiff’s body.

               102.    At no point during his trainings or career did Plaintiff receive any warning

that Defendants’ AFFF products containing PFOA and/or PFOS and/or their precursor chemicals

were toxic or carcinogenic.

               103.    On May 22, 2019, Plaintiff’s doctors diagnosed Plaintiff with a papillary

right renal cell carcinoma.




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               104.    On May 22, 2019, Plaintiff’s doctors performed a partial nephrectomy on

Plaintiff’s right kidney to treat his kidney cancer.

               105.    On July 13, 2020 Plaintiff’s doctors diagnosed Plaintiff with a prostatic

adenocarcinoma.

               106.    On July 13, 2020, Plaintiff’s doctors performed a prostatectomy with lymph

node incision on Plaintiff to treat his prostate cancer.

               107.    Plaintiff suffered, and continues to suffer, the effects of his illness

proximately caused by exposure to Defendants’ fluorochemical products.

                         AS AND FOR A FIRST CAUSE OF ACTION
  PRODUCTS LIABILITY – DEFECTIVE DESIGN – CONSUMER EXPECTATIONS

               108.    Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full therein.

               109.    At all times relevant to the Complaint, Defendants were regularly engaged

in the design, formulation, production, creation, making, construction, assembly, rebuilding, sale,

distribution, preparation, and labeling, of fluorochemical products.

               110.    At all times pertinent to this Complaint, Defendants regularly participated

in placing the fluorochemical products into the American stream of commerce.

               111.    As manufacturers, designers, refiners, formulators, distributors, suppliers,

sellers, and/or marketers of fluorochemical products, Defendants owed a duty to all persons whom

Defendants’ products might foreseeably harm, including Plaintiff, not to manufacture, sell, and/or

market any product which is unreasonably dangerous for its intended and foreseeable uses.




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               112.    Plaintiff used Defendants’ fluorochemical products in a reasonably

foreseeable manner and without substantial changes in the condition in which the products were

sold.

               113.    Defendants’ fluorochemical products used by Plaintiff did not perform as

safely as an ordinary consumer would have expected the products to perform when used as Plaintiff

did in an intended or reasonably foreseeable manner because PFOA and PFOS are carcinogens

and otherwise harmful to human health.

               114.    Defendants’ defective design of the fluorochemical products was far more

dangerous than plaintiff or an ordinary consumer would expect when used, as Plaintiff did, in an

intended and reasonably foreseeable manner.

               115.    Defendants’ fluorochemical products failure to perform safely was a

substantial factor in causing Plaintiff’s harm.

               116.    Defendants could have manufactured, marketed, and sold alternative

designs or formulations of products that did not contain harmful fluorochemicals.

               117.    These alternative designs and/or formulations were available, practical, and

technologically feasible.

               118.    The use of these alternative designs would have reduced or prevented the

reasonably foreseeable harm to human health that was caused by Defendants’ manufacture,

marketing, and/or sale of fluorochemical products.

               119.    The risks of fluorochemical products were not obvious to users of the AFFF,

nor were they obvious to users in the vicinity of the AFFF use, including Plaintiff, who were

unwittingly exposed to Defendants’ toxic and carcinogenic chemicals. Plaintiffs could not have



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reasonably discovered the defects and risks associated with the use of fluorochemical products and

could not protect themselves from exposure to Defendants’ fluorochemical products.

                120.      As a direct and proximate result of Defendants’ defective design, Plaintiff

has suffered and will continue to suffer some or all of the following damages:

            a. Medical and hospital bills for diagnosis, monitoring, and treatment of injuries;

            b. Physical injury, both temporary and permanent;

            c. Economic Damages;

            d. Severe and significant emotional distress and mental pain and suffering;

            e. Humiliation, embarrassment and fear;

            f. Loss of enjoyment of life;

            g. Annoyance and inconvenience; and

            h. Other damages, which, under the law and circumstances, Plaintiff is entitled to

                recover, including attorneys’ fees and costs associated with the prosecution of this

                action.

                121.      As a result of Defendants’ design and formulation of a defective product,

Defendants are strictly liable in damages to Plaintiff.

                122.      Defendants’ acts were willful, wanton, reckless and/or conducted with a

reckless indifference to the rights of Plaintiff.

                          AS AND FOR A SECOND CAUSE OF ACTION

            PRODUCTS LIABILITY – DEFECTIVE DESIGN – RISK-UTILITY

                123.      Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full therein.



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               124.   At all times relevant to the Complaint, Defendants were regularly engaged

in the design, formulation, production, creation, making, construction, assembly, rebuilding, sale,

distribution, preparation, and labeling, of fluorochemical products.

               125.   At all times pertinent to this Complaint, Defendants regularly participated

in placing the fluorochemical products into the American stream of commerce.

               126.   As manufacturers, designers, refiners, formulators, distributors, suppliers,

sellers, and marketers of fluorochemical products, Defendants owed a duty to all persons whom

Defendants’ products might foreseeably harm, including Plaintiff, not to manufacture, sell, or

market any product which is unreasonably dangerous for its intended and foreseeable uses.

               127.   Defendants’ fluorochemical products were defectively designed and

manufactured when the products left the hands of Defendants, such that the foreseeable risks

associated with the use, storage, and disposal of the fluorochemical products exceeded the

alleged benefits associated with its design and formulation.

               128.   At all times relevant to this litigation, Defendants’ fluorochemical

products reached Defendants’ intended consumers and users without substantial change in its

condition as designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               129.   Defendants could have manufactured, marketed, and sold alternative

designs or formulations of products that did not contain harmful fluorochemicals.

               130.   These alternative designs and/or formulations were available, practical,

and technologically feasible.

               131.   The use of these alternative designs would have reduced or prevented the

reasonably foreseeable harm to human health that was caused by the Defendants’ manufacture,

marketing, and sale of fluorochemical products.


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                132.      The fluorochemical products manufactured, sold, or distributed by the

Defendants were defective in design because the foreseeable risk of harm posed by the

fluorochemical products could have been reduced or eliminated by the adoption of a reasonable

alternative design.

                133.      As a direct and proximate result of Defendants’ defective design, Plaintiff,

other exposed individuals, and the public at large have suffered and will continue to suffer some

or all of the following damages:

            a. Medical and hospital bills for diagnosis, monitoring, and treatment of injuries;

            b. Physical injury, both temporary and permanent;

            c. Economic Damages;

            d. Severe and significant emotional distress and mental pain and suffering;

            e. Humiliation, embarrassment and fear;

            f. Loss of enjoyment of life;

            g. Annoyance and inconvenience; and

            h. Other damages, which, under the law and circumstances, Plaintiff is entitled to

                recover, including attorneys’ fees and costs associated with the prosecution of this

                action.

                134.      As a result of Defendants’ design and formulation of a defective product,

Defendants are strictly liable in damages to Plaintiff.

                135.      Defendants’ acts were willful, wanton, reckless and/or conducted with a

reckless indifference to the rights of Plaintiff.

                           AS AND FOR A THIRD CAUSE OF ACTION
                  STRICT PRODUCTS LIABILITY – FAILURE TO WARN


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               136.    Plaintiffs hereby incorporate by reference all allegations contained in the

preceding paragraphs of this Complaint as if restated in full therein.

               137.    Defendants knew or should have known that exposure to fluorochemical

products presented a substantial danger when used because it is hazardous to human health and

the environment.

               138.    Defendants knew or should have known that the manner in which they were

manufacturing, marketing, and selling fluorochemical products would result in physical harm to

Plaintiff.

               139.    Ordinary consumers of Defendants’ fluorochemical products would not

have recognized the risks.

               140.    Defendants failed to adequately warn plaintiff of the potential risks of

fluorochemical products.

               141.    Adequate instructions and warnings on the fluorochemical products could

have reduced or avoided these foreseeable risks of harm to Plaintiff’s health.

               142.    Had Defendants provided adequate warnings, Plaintiff could have taken

measures to avoid or lessen the exposure.

               143.    The lack of sufficient warnings was a substantial factor in causing Plaintiff’s

harm.

               144.    Defendants’ failure to warn was a direct and proximate cause of Plaintiff’s

kidney cancer and prostate cancer.

               145.    Defendants’ failure to provide adequate and sufficient warnings for the

fluorochemical products that they manufactured, marketed, and sold renders the fluorochemical

products defective products.


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                  146.   As a direct and proximate result of Defendants’ defective design, Plaintiff

has suffered and will continue to suffer some or all of the following damages:

             a.     Medical and hospital bills for diagnosis, monitoring, and treatment of injuries;

             b.     Physical injury, both temporary and permanent;

             c.     Economic Damages;

             d.     Severe and significant emotional distress and mental pain and suffering;

             e.     Humiliation, embarrassment and fear;

             f.     Loss of enjoyment of life;

             g.     Annoyance and inconvenience; and

             h.     Other damages, which, under the law and circumstances, Plaintiff is entitled to

                    recover, including attorneys’ fees and costs associated with the prosecution of

                    this action.

                  147.   As a result of Defendants’ manufacture, sale, and/or distribution of a

defective product, Defendants are strictly liable in damages to Plaintiff.

                  148.   Defendants’ acts were willful, wanton, reckless, and/or conducted with a

reckless indifference to the rights of Plaintiff.

                         AS AND FOR A FOURTH CAUSE OF ACTION
                                           NEGLIGENCE

                  149.   Plaintiffs hereby incorporate by reference all allegations contained in the

preceding paragraphs of this Complaint as if restated in full therein.

                  150.   As manufacturers, refiners, formulators, distributors, suppliers, sellers,

marketers, shippers, or handlers of fluorochemical products, Defendants owed a duty to Plaintiff




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to exercise reasonable care in the instructing, labeling, and warning of the handling, control, use

and disposal of Defendants’ fluorochemical products.

               151.    Defendants also voluntarily assumed a duty towards Plaintiff by

affirmatively representing to Plaintiff that Defendants’ previously detailed acts and/or omissions

were not causing any physical harm or other damage to him, and that Defendants’ fluorochemical

products were safe to use.

               152.    Defendants’ fluorochemical products are inherently dangerous substances

and Defendants’ owed a duty of care towards the Plaintiff that was commensurate with the harmful

nature of the fluorochemical products and the dangers involved with exposure to fluorochemical

products.

               153.    Defendants failed to correct, clarify, rescind, and/or qualify its

representations to Plaintiff that Defendants’ acts and/or omissions were not causing any physical

harm and/or damage to him, or that the fluorochemical products were safe to use.

               154.    Despite knowing that their fluorochemical products are toxic, can

contaminate soil and water resources, and present significant risks to human health and the

environment, Defendants failed to use reasonable care when they: (a) designed, manufactured,

formulated, handled, labeled, instructed, controlled, marketed, promoted, and/or sold

fluorochemical products; (b) issued instructions on how fluorochemical products should be used

and disposed of; (c) failed to recall and/or warn the users of fluorochemical products of the dangers

to human health and water contamination as a result of standard use and disposal of these products;

and (d) failed and refused to issue the appropriate warnings and/or recalls to the users of

fluorochemical products regarding the proper use and disposal of these products, notwithstanding



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the fact that Defendants knew, or could determine with reasonable certainty, the identity of the

purchasers of their fluorochemical products.

               155.    But for Defendants’ negligent acts and/or omissions, Plaintiff would not

have been exposed to unhealthy levels of fluorochemicals.

               156.    Defendants’ failure to act with reasonable care to (1) design a product to

perform safely; (2) failure to issue an adequate warning or instruction on the use of fluorochemical

products warning and; (3) failure to issue a recall, were substantial factors in causing plaintiff’s

harm.

               157.    Defendants knew or reasonably should have known that users would not

realize the danger Defendant’s fluorochemical products posed to human health.

               158.    A reasonable manufacturer or distributor under the same or similar

circumstances would have warned of the danger.

               159.    Defendants’ negligent acts and omissions directly and proximately caused

Plaintiff’s kidney cancer and prostate cancer and continue to directly and proximately cause

damage to Plaintiff in the form of severe personal injuries, pain, suffering, and emotional distress.

               160.    Plaintiff is reasonably certain to have future permanent and lasting

detrimental health effects due to Plaintiff’s present and past injuries directly and proximately

caused by Defendants’ negligent acts or omissions.

               161.    It has been reasonably foreseeable to Defendants for at least several decades

that Defendants’ negligent acts and/or omissions would directly and proximately cause bodily

injury and economic damage to Plaintiff including the injuries and damages that Plaintiff suffers

from.



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               162.      Defendants’ were conscious of the dangers of fluorochemical products, and

its negligent acts or omissions, and were conscious that bodily injury to Plaintiff would or was

likely to result from the fluorochemical products and Defendants’ negligent acts and/or omissions.

Nevertheless, with reckless indifference to these consequences, and as previously detailed,

Defendants consciously and intentionally acted negligently and/or omitted the duties Defendants

knew it owed to Plaintiff, other exposed individuals, and the public at large, and Plaintiff was

harmed as a result.

               163.      The acts and omissions of Defendants were negligent, intentional, reckless,

malicious, willful and/or wanton, and as a direct and proximate result Plaintiff, has suffered and

will continue to suffer some or all of the following damages:

                      a. Medical and hospital bills for diagnosis, monitoring, and treatment of

                         injuries;

                      b. Physical injury, both temporary and permanent;

                      c. Economic Damages;

                      d. Severe and significant emotional distress and mental pain and suffering;

                      e. Humiliation, embarrassment and fear;

                      f. Loss of enjoyment of life;

                      g. Annoyance and inconvenience; and

                      h. Other damages, which, under the law and circumstances, Plaintiff is entitled

                         to recover, including attorneys’ fees and costs associated with the

                         prosecution of this action.


                           AS AND FOR A FIFTH CAUSE OF ACTION
                CONCEALMENT MISREPRESENTATION AND FRAUD

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               164.    Plaintiffs incorporate herein by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

               165.    Defendants knowingly, intentionally, maliciously, willfully, wantonly,

recklessly and/or negligently failed and/or refused to advise Plaintiff of the dangers and/or health

risks posed by Defendants’ fluorochemical products.

               166.    Defendants negligently, knowingly, maliciously, willfully, wantonly,

recklessly, intentionally, and/or negligently withheld, misrepresented, and/or concealed

information regarding Defendants’ fluorochemical products from Plaintiff who had a right to know

of information which would have prevented Plaintiff from being exposed and/or continuing to be

exposed to the fluorochemical products.

               167.    For at least several decades, Defendants had knowledge or the means of

knowledge that Defendants’ fluorochemical products were causally connected with or could

increase the risk of causing damage to humans and animals, including knowledge of statistically

significant findings showing a causal connection between exposure to fluorochemical products

and physical injuries in humans and animals.

               168.    In connection with the fluorochemical products, Defendants have had and

continue to have a general duty of care to disclose to Plaintiff the actual and potential harm to their

persons as a direct and proximate result of Defendants’ acts and/or omissions, including a general

duty of care to disclose to Plaintiff that Defendants had, and were continuingly, exposing Plaintiff

to harmful levels of fluorochemicals.

               169.    In addition to its general duty of care, Defendants also voluntarily assumed

a duty to disclose to Plaintiff the actual and potential harm to his body as a direct and proximate

result of Defendants’ acts and/or omissions, including a duty to disclose to Plaintiff that


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Defendants had exposed, and were continuingly exposing Plaintiff to harmful fluorochemical

products, which duty was voluntarily assumed by affirmatively representing to Plaintiff that the

Defendants and their fluorochemical exposure were harmless, when Defendants knew and/or

reasonably should have known that the Defendants’ fluorochemical products caused, and were

continuing to cause, bodily injury.

               170.   Through Defendants’ superior knowledge, responsibility, and/or control

over the fluorochemical products, and Defendants’ voluntary actions and/or representations, a

relationship of trust and confidence existed between Defendants and Plaintiff.

               171.   Despite Defendants’ knowledge regarding fluorochemical exposure, and

despite Defendants’ duties to disclose to Plaintiff, Defendants negligently, maliciously,

knowingly, willfully, wantonly, recklessly and/or intentionally withheld, misrepresented, and/or

concealed information from Plaintiff regarding exposure to fluorochemical products.

               172.   Defendants withheld, misrepresented, and/or concealed information

regarding fluorochemical exposure from Plaintiff with the intention to mislead and/or defraud him

into believing that their fluorochemical exposure was not harmful, and to mislead and/or defraud

him into continuing to use the fluorochemical products.

               173.   Defendants withheld, misrepresented, and/or concealed information

regarding fluorochemical exposure that was a substantial factor in causing Plaintiff’s harm.

               174.   As a direct and proximate result of the aforesaid acts and/or omissions by

Defendants, acting for and on its own behalf and as agent, ostensible agent, employee, conspirator

and/or joint venture of others, plaintiff was exposed to Defendants’ fluorochemical products and

was injured.



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               175.    Defendants not only withheld, misrepresented, and/or concealed material

information from Plaintiff but also committed fraud against Plaintiff by affirmatively representing

to Plaintiff that their fluorochemical products were harmless and/or did not present any risk of

harm, when Defendants knew, reasonably should have known, and/or with utter disregard and

recklessness as to whether it was true or not, that Defendants’ fluorochemical products had caused,

and were continuing to cause, bodily injury and/or risk of such bodily injury to Plaintiff.

               176.    Defendants’ representations to Plaintiff were knowingly, intentionally,

negligently, and/or recklessly false.

               177.    Defendants had, and continue to have, a duty of care to provide Plaintiff,

with truthful representations regarding the actual and potential harm to his person as a direct and

proximate result of Defendants’ acts and/or omissions, and Defendants voluntarily assumed a duty

of care to provide Plaintiff with truthful representations regarding Defendants’ fluorochemical

products and the actual and potential harm to his persons as a direct and proximate result of

Defendants’ acts and/or omissions.

               178.    Defendants’ affirmative representations and/or omissions to Plaintiff were

false and were material to Plaintiff in forming his belief that Defendants’ fluorochemical products

were safe, in causing him to continue to use the fluorochemical products, and in causing him to

not seek treatment and/or ways to remedy his past and continuing exposure to fluorochemical

products.

               179.    Defendants made the affirmative representations and/or omissions to

Plaintiff with the intention that Plaintiff would be misled into relying on such affirmative

representations and/or omissions.



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               180.    Plaintiff relied on Defendants’ affirmative representations and/or omissions

in forming his belief that Defendants’ fluorochemical products were safe in causing them to

continue to use the fluorochemical products, and in not seeking treatment and/or ways to remedy

his past and continuing exposure to Defendants’ fluorochemical products.

               181.    Plaintiff was damaged and physically harmed as a direct and proximate

result of their justified reliance on Defendants’ affirmative, fraudulent representations and/or

omissions and, as a direct and proximate result of such justified reliance, Plaintiff continued to use

the fluorochemical products.

                        AS AND FOR A SIXTH CAUSE OF ACTION
                                     NEGLIGENCE PER SE

               182.    Plaintiffs incorporate herein by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

               183.    One or more federal statutes, including but not limited to 15 U.S.C. §§ 2607

and 2614, 33 U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 6921-6939e, impose duties of care on

Defendants with regard to Defendants’ actions and/or omissions towards Plaintiff and/or Plaintiff’s

safety.

               184.    By Defendants’ acts and/or omissions resulting in harm to Plaintiff,

Defendants’ violated and/or continue to violate and/or breach one or more federal statutes and/or

duties, including but not limited to 15 U.S.C. §§ 2607 and 2614, 33 U.S.C. §§ 1311(a) and 1342,

and 42 U.S.C. §§ 6921-6939e, constituting negligence per se, including liability for all injuries to

Plaintiff associated with the fluorochemical products.




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               185.    Defendants’ violation of law and breach of its statutory duties directly and

proximately caused and continue to directly and proximately cause damage to Plaintiff in the form

of economic damage and bodily injury for which Defendants are liable.

                      AS AND FOR A SEVENTH CAUSE OF ACTION
                  PAST AND CONTINUING TRESSPASS AND BATTERY

               186.    Plaintiffs incorporate herein by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

               187.    Defendants have known for several decades that their fluorochemical

products are harmful and toxic to humans and animals, and once ingested, will remain in a person’s

body for a long time, including through binding to blood and/or tissues.

               188.    Despite such knowledge, Defendants continued to use the fluorochemical

products, which caused harmful physical contact with Plaintiff.

               189.    Defendants’ continued actions with knowledge that such actions will result

in harmful physical contact with Plaintiff demonstrate intent and/or reckless indifference by

Defendants without regard to the harm they have caused and will cause.

               190.    Defendants’ intentional acts and/or omissions have resulted in

fluorochemicals, in the body of Plaintiff or otherwise unlawful and harmful invasion, contact,

and/or presence of fluorochemicals in Plaintiff’s body, which interferes with Plaintiff’s rightful

use and possession of Plaintiff’s body.

               191.    The fluorochemicals present in and/or on Plaintiff’s body originating from

Defendants’ fluorochemical products was at all relevant times hereto, and continues to be, the

property of Defendants.




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               192.    The invasion and presence of the fluorochemical products in and/or on

Plaintiff’s body was and continues to be unconsented and without permission or authority from

Plaintiff or anyone who could grant such permission or authority.

               193.    Defendants’ intentional acts and/or omissions were done with the

knowledge and/or belief that the invasion, contact, and/or presence of fluorochemical products

onto, and/or into Plaintiff’s body were substantially certain to result from those acts and/or

omissions.

               194.    Harmful contact with Plaintiff’s body was the direct and/or indirect result

of Defendant’s intentional acts and/or omissions.

               195.    The presence and continuing presence of the fluorochemical products in

and/or on Plaintiff’s body is offensive, unreasonable, and/or harmful and constitutes a continuing

and/or permanent trespass and battery.

               196.    Defendants’ past and continuing trespass and battery upon Plaintiff’s body

directly and proximately caused and continues to directly and proximately cause damage to

Plaintiff in the form of bodily injury, for which Defendants’ are liable.

                      AS AND FOR AN EIGHTH CAUSE OF ACTION
   NEGLIGENT, INTENTIONAL, AND RECKLESS INFLICTION OF EMOTIONAL
                                            DISTRESS
               197.    Plaintiffs incorporate herein by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action

               198.    Defendants’ acts and/or omissions were negligent, intentional, and/or

reckless, including Defendants’ continued pollution of the environment and resultant exposure of

Plaintiff to harmful fluorochemical products, despite knowing for decades that such exposure was

causing and would continue to cause harm and/or unacceptable risk of harm to Plaintiff.

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                199.   Defendants’ negligently, knowingly and/or intentionally withheld and

concealed material information from and/or affirmatively misrepresented to Plaintiff that they

were not exposed to harmful fluorochemical products and/or that the fluorochemical products were

not causing or creating any risk of harm to them, despite knowing at the time these concealments

and/or misrepresentations were made that the fluorochemical products were causing and would

continue to cause harm and/or unacceptable risk of harm to persons, including Plaintiff.

                200.   At the time of Defendants’ negligent, knowing, and/or intentional acts

and/or omissions, it was foreseeable to Defendants and Defendants were certain and/or

substantially certain that its actions and/or omissions would cause emotional distress to Plaintiff.

                201.   Defendants’ acts and/or omissions were extreme, outrageous, intolerable,

and/or offended the generally accepted standards of decency and morality.

                202.   By continuing to expose Plaintiff to harmful fluorochemical products, and

continuing to misrepresent to Plaintiff that the fluorochemical products were not and would not

cause them harm or risk of harm and/or continuing to withhold and/or conceal from Plaintiff

material information on such issues, despite knowing that the fluorochemical products were

causing and would continue to cause harm and/or risk of harm, Defendants acted in an extreme,

outrageous, and intolerable manner which offended any generally accepted standard of decency

and morality.

                203.   Defendants’ acts and/or omissions resulting in Defendants’ concealment

and/or misrepresentations, directly and proximately caused physical harm, and continue to cause

physical harm, to Plaintiff.




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               204.      Defendants’ acts and/or omissions resulting in Defendants’ concealment

and/or misrepresentations, directly and proximately caused great emotional suffering, and continue

to cause emotional suffering and distress, to Plaintiff.

               205.      Defendants’ extreme, outrageous and intolerable actions were a substantial

factor in causing Plaintiff to suffer severe physical, mental, and emotional distress.

               206.      As a direct and proximate result of Defendants’ extreme, outrageous and

intolerable actions, Plaintiff has and will continue to suffer severe physical, mental, and emotional

distress.

                  207.     No reasonable person could be expected to endure the mental anguish

caused by the knowledge that entities have negligently, knowingly, and/or intentionally exposed

 them to years of harmful contact with AFFF containing PFOA or PFOS and/or their precursor

   chemicals, and has furthermore actively misrepresented and/or concealed such danger from

  them, while reaping hundreds of millions of dollars in profits as a direct and proximate result.

                          AS AND FOR A NINTH CAUSE OF ACTION
                         LOSS OF CONSORTIUM FOR KRIS MOORE
               208.      Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in

the preceding paragraphs as if fully restated herein.

               209.      At the time of the injuries alleged in the Plaintiffs’ Complaint, the Plaintiffs

were married. The Plaintiffs continue to be married.

               210.      As a result of the negligent, intentional, and/or reckless wrongful acts and

omissions committed by the Defendants, Plaintiff Kris Moore was caused to suffer, and will

continue to suffer in the future, loss of consortium, loss of society, affection, assistance, and

conjugal fellowship, all to the detriment of their marital relationship.


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               211.    All the injuries and damages were caused solely and proximately by the

negligent, intentional, and/or reckless wrongful acts and omissions of the Defendants.

                             CLAIM FOR PUNITIVE DAMAGES

               212.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in

the preceding paragraphs as if fully restated herein.

               213.    At all times relevant to the present cause of action, Defendants

manufactured, marketed, and sold the fluorochemical products that were used by Plaintiff and that

resulted in the physical bodily injuries that Plaintiff has suffered and will continue to suffer.

               214.    At the time the above-described, affirmative, voluntary, and intentional acts

were performed by Defendants, Defendants had good reason to know or expect that their

fluorochemical products were toxic chemicals capable of causing harm to human health.

               215.    Defendants’ negligent, reckless, willful, fraudulent, and/or wanton actions

and/or intentional failures to act caused Plaintiff to be exposed to fluorochemical products.

               216.    The willful, wanton, malicious, fraudulent and/or reckless conduct of

Defendants, includes, but is not limited to:

                           a. issuing no warnings and failing to divulge material information

                               concerning the release of fluorochemicals, including but not limited

                               to PFOA and PFOS;

                           b. failing to take all reasonable measures to ensure fluorochemical

                               products would be used effectively and properly disposed of;

                           c. failing to prevent the foreseeable impacts of fluorochemical

                               exposure upon the Plaintiff.




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                          d.   withholding, misrepresenting, and/or concealing information

                               regarding the releases of fluorochemical products and exposure

                               from Plaintiff, other exposed individuals, and the public at large

                               with the intention to mislead and/or defraud them into believing that

                               their exposure to fluorochemical products was not harmful, and to

                               mislead and/or defraud them into continuing to purchase and

                               consume drinking water contaminated with fluorochemical

                               products.

               217.    As a result of Defendants’ conduct, Plaintiff has been forced to incur and

will continue to incur significant costs related to the harm caused by Defendants’ fluorochemical

products and will continue to suffer serious, debilitating, and severe physical, mental, and

emotional distress of his kidney cancer and prostate cancer caused by Defendants’ fluorochemical

products.

               218.    Defendants have demonstrated an outrageous conscious disregard for the

physical safety of Plaintiff and acted with implied malice, warranting the imposition of punitive

damages.

               219.    Upon information and belief, Defendants’ conduct involved wanton,

willful, and/or a conscious and reckless disregard for the health, safety, property, and rights of

others. The Court should award the Plaintiff punitive damages in an amount sufficient to deter and

punish such conduct.

                                    PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs demand judgment against Defendants, and each of them, jointly

and severally, and request the following relief from the Court:


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A. Compensatory damages that exceed the jurisdictional limit of this court;

B. Punitive damages that exceed the jurisdictional limit of this court;

C. Reasonable fees for attorneys and expert witnesses;

D. Costs and disbursements of this lawsuit;

E. Interest on the damages according to law; and

F. Any other and further relief as the Court deems just, proper and equitable.

                                         JURY DEMAND

Plaintiffs demand a trial by jury of all claims asserted in this Complaint.

Dated: May 19, 2021                                   Respectfully submitted,

                                                      Pennock Law Firm LLC



                                                      By:
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